
USCA1 Opinion

	











                            United States Court of Appeals
                                For the First Circuit

                                 ____________________


        No. 97-1229


                                   JERE SCOLA, JR.,

                                Plaintiff, Appellant,

                                          v.

                   BEAULIEU WIELSBEKE, N.V. and DOMINEK DE CLERCK,

                                Defendants, Appellees.

                                 ____________________


        No. 97-1230

                                   JERE SCOLA, JR.,

                                 Plaintiff, Appellee,

                                          v.

                   BEAULIEU WIELSBEKE, N.V. and DOMINIEK DE CLERCK,

                               Defendants, Appellants.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________


























                                 ____________________

                                        Before

                              Boudin, Circuit Judge, and
                                      _____________

                     Campbell and Bownes, Senior Circuit Judges.
                                          _____________________

                                 ____________________

            Caroline C. Kresky, with whom  Holland &amp; Knight LLP  and Robert E.
            __________________             ____________________      _________
        Mongue  were on  brief for  Beaulieu Wielsbeke,  N.V. and  Dominiek De
        ______
        Clerck.

            Eric Cote,  with whom Joseph  M. Wrobleski, Jr. were  on brief for
            _________             _________________________
        Jere Scola, Jr.


                                 ____________________

                                  December 19, 1997
                                 ____________________































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                      BOWNES, Senior Circuit Judge.  Two issues have been
                      BOWNES, Senior Circuit Judge.
                              ____________________

            raised by the  parties in this case.  The first, in which the

            plaintiff Jere Scola,  Jr. is the appellant, is  an appeal by

            Scola  on the  merits from  a  summary judgment  in favor  of

            defendants-appellees Beaulieu Wielsbeke, N.V. and Dominiek De

            Clerck.   The  second  issue, in  which  the  defendants  are

            appellants,  focuses on only  one question:   whether Scola's

            appeal  from  the  summary judgment  against  him  was timely

            filed.

                      Because  we find that Scola's appeal was not timely

            filed, we  dismiss the case  for lack of jurisdiction  and do

            not  reach Scola's appeal  from the summary  judgment against

            him.

                         Under Fed. Rule App. Proc. 4(a) and 28
                      U.S.C.    2107, a  notice of appeal  in a
                      civil case  must be filed within  30 days
                      of  entry of  the judgment or  order from
                      which the appeal  is taken.  This  30-day
                      time    limit    is     "mandatory    and
                      jurisdictional."

            Browder v. Director, Ill. Dep't of Corrections, 434 U.S. 257,
            _______    ___________________________________

            264 (1978)(citations omitted);  see also Smith v.  Barry, 502
                                            ___ ____ _____     _____

            U.S. 244, 248 (1992); Aybar v. Crispin-Reyes, 118 F.3d 10, 14
                                  _____    _____________

            (1st Cir. 1997),  petition for cert.  filed, (U.S. Sept.  24,
                              ________ ___ _____  _____

            1997) (Nos. 97-6253,  6255); Acevedo-Villalobos v. Hernandez,
                                         __________________    _________

            22 F.3d 384, 387 (1st Cir. 1994).

                                          I.
                                          I.





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                      According to  the court docket, final  judgment was

            entered on  November 22, 1996.   Scola claims,  however, that

            there was no final judgment (or Rule 54(b) certification) and

            that as  a result,  his notice  of  appeal was  not late  but

            premature.   This rather astounding argument  is based on the

            procedural history of  a counterclaim filed by  defendants in

            their answer to  Scola's complaint.  The  counterclaim sought

            the  return of  certain documents  given to Scola  during the

            proceedings.     On  June   17,  1996,  defendants   filed  a

            stipulation   of  dismissal   of  the   counterclaim  without

            prejudice and withdrawal  of a jury trial demand.   By letter

            of July  30, 1996,  the clerk advised  all counsel  of record

            that the court  had ruled that dismissal  of the counterclaim

            and  withdrawal of  the  jury  demand  were  ineffective  and

            therefore denied.   The  court cited  Federal Rules of  Civil

            Procedure 41(a)  and  38(d).   The court's  reading of  these

            rules  was  correct.   There  is  nothing  further  about the

            counterclaim  in the district court record.  The counterclaim

            argument was made by Scola for the first time in a  motion to

            dismiss the appeal filed in this court.  We note that Scola's

            notice of appeal states that  he is appealing "from the final

            judgment entered  in this action  on the 22 day  of November,

            1996."

                      Scola's   attempt  to   resuscitate  the   moribund

            counterclaim  is precluded  by  the  final  sentence  of  the



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            district   court's  order   granting  summary   judgment  for

            defendants.   "This conclusion  makes moot all  other pending

            matters in  this case."    The counterclaim  obviously was  a

            pending matter.













































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                                         II.
                                         II.

                      The second argument made by  Scola in his effort to

            avoid the consequences  of filing an untimely  appeal invokes

            the  doctrine of  "unique circumstances."    He claims  that,

            "[t]he  parties and the district court  made a mutual mistake

            about the power of the court to  extend time for a Rule 59(e)

            motion."  Scola's Brief at  2.  Our analysis starts  with the

            date  of  final  judgment,  November  22,  1996;  this  makes

            December 23, 1996 the last day for filing a notice of appeal.

            It also makes December 9, 1996 the last day for filing a Rule

            59(e) motion for a new trial.

                      Scola met neither  deadline.  The docket  shows the

            following filings and response orders.

                      1.   On  November  27,  1996,  Scola
                           filed  a motion  to extend  the
                           time  to  file   a  Rule  59(e)
                           motion until December 18, 1996.

                      2.   On December 2, 1996, the motion
                           was granted by endorsement.

                      3.   On December 18, 1996, plaintiff
                           delivered the Rule 59(e) motion
                           to  the clerk's  office and  it
                           was date-stamped as received by
                           the  clerk on  the  18th.   The
                           motion  was   entered  on   the
                           docket on December 19, 1996.

                      4.   On   January   7,   1997,   the
                           district      court      denied
                           appellant's  Rule 59(e)  motion
                           by endorsement.

                      5.   On January 16,  1997, plaintiff
                           delivered  a  notice  of appeal
                           from  the  November   22,  1996


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                           final  judgment;   it was  date
                           stamped  as  received   on  the
                           16th, and entered on the docket
                           on January 17th.

                      6.   On  January  17,   1997,  Scola
                           filed a Fed. R. App. P. 4(a)(5)
                           motion to  extend the  time for
                           filing  a notice  of appeal  to
                           January  15,  1997 --  one  day
                           __________________     ________
                           after  he had  filed the  above
                           _______________________________
                           notice  of  appeal.   (Emphasis
                           __________________
                           ours.)

                      7.   On   February   7,   1997,  the
                           district  court  judge  granted
                           Scola's FRAP 4(a)(5)  motion by
                           endorsement.

                      The "unique circumstances" doctrine had its genesis

            in Thompson v. I.N.S., 375 U.S. 384 (1964).  It was found not
               ________    ______

            to  apply in  Osterneck  v.  Ernst &amp;  Whinney,  489 U.S.  169
                          _________      ________________

            (1989).  The Court restated the doctrine:

                      By its terms, Thompson applies only where
                                    ________
                      a party  has performed  an act  which, if
                      properly   done,   would   postpone   the
                      deadline  for filing  his appeal  and has
                      received specific assurance by a judicial
                      officer that  this act has  been properly
                      done.

            Id. at 179.  Our latest decision on the doctrine is stated in
            ___

            Air Line Pilots  Ass'n v. Precision Valley Aviation, Inc., 26
            ______________________    _______________________________

            F.3d 220, 225 (1st Cir. 1994).  

                         There  are  two preconditions  to  the
                      availability      of     the      "unique
                      circumstances"  exception.    First,  the
                      exception "applies only where a party has
                      performed an act which, if properly done,
                      would  postpone the  deadline for  filing
                      his  appeal  and  has  received  specific
                      assurance by a judicial officer that this
                      act has been  properly done."   Osterneck
                                                      _________


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                      v. Ernst  &amp; Whinney,  489 U.S.  169, 179,
                         ________________
                      109 S. Ct.  987, 993, 103  L. Ed. 2d  146
                      (1989).   Second, the  court's action  or
                      statement must  have occurred at  a point
                      when, had the party not been  led astray,
                      it would have been able to file a timeous
                      notice  of appeal.    See Feinstein,  951
                                            ___ _________
                      F.2d at 20.   Here, neither  precondition
                      is satisfied, for the district court  did
                      nothing    to    lull    appellant   into
                      inactivity.

            The last sentence of the  quote is specifically pertinent  to

            the case at bar.

                      The first question is  the effect of the  filing of

            the  Rule 59(e)  motion.   A  timely-filed Rule  59(e) motion

            tolls the time to take an  appeal.  Fed. R. App. P.  4(a)(4).

            But an untimely  Rule 59(e) motion is a  nullity and does not

            have any tolling effect.  Feinstein v. Moses, 951 F.2d 16, 18
                                      _________    _____

            (1st  Cir. 1991).    Moreover, the  district  court "may  not

            extend the  time for  taking any  action  under .  . .  [Rule

            59(b), (d) and (e)] . . . except  to the extent and under the

            conditions stated in [the rule]."  Fed. R. Civ. P. 6(b).

                      We find  that the  "unique circumstances"  doctrine

            does not  apply.  For the  doctrine to apply Scola  must meet

            the requirements  set forth  in Osterneck,  489 U.S.  at 179.
                                            _________

            Scola  did  not  receive "specific  assurance  by  a judicial

            officer"  that any  of his  late filings  had "been  properly

            done."   The court  did, on February  7, 1997,  grant Scola's

            motion  under Fed. R. App. P. 4(a)(5)  to extend the time for

            filing  a notice of  appeal to  January 15,  1997.   But even



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            making the  very dubious  assumption that the  court had  the

            authority to extend the time for filing the appeal to January

            15, Scola failed to meet  the deadline he imposed on himself.

            The notice of appeal  was filed on January 16,  one day after
                                                                    _____

            Scola's self-imposed deadline of January 15.  This is a truly

            unique  situation,  it  beggars   the  imagination,  but   it

            certainly  does not  fall within  the "unique  circumstances"

            doctrine.

                      Scola's brief also urges that the client should not

            be penalized for his attorney's mistakes.  The Court rejected

            such a  plea in Link  v. Wabash R.R.  Co., 370 U.S.  626, 633
                            ____     _______________

            (1962):

                        There  is  certainly  no merit  to  the
                      contention   that   dismissal    of   the
                      petitioner's   claim   because   of   his
                      counsel's  unexcused  conduct  imposes an
                      unjust penalty on the client.  Petitioner
                      voluntarily  chose this  attorney as  his
                      representative  in  the  action,  and  he
                      cannot now avoid the  consequences of the
                      acts or omissions of this freely selected
                      agent.  Any other  notion would be wholly
                      inconsistent   with    our   system    of
                      representative litigation, in  which each
                      party  is deemed bound by the acts of his
                      lawyer-agent  and is  considered to  have
                      "notice of all facts, notice of which can
                      be charged upon the attorney."  

            (citation  omitted); see also  Figueroa Ruiz v.  Alegria, 896
                                 ___ ____  _____________     _______

            F.2d 645,  650 n.5 (1st  Cir. 1990); Damiani v.  Rhode Island
                                                 _______     ____________

            Hosp., 704 F.2d 12, 16 (1st Cir. 1983).
            _____

                      For the reasons stated, Scola's appeal is dismissed
                                              Scola's appeal is dismissed
                                              ___________________________

            for lack of jurisdiction.  Costs awarded to defendants.
            for lack of jurisdiction   Costs awarded to defendants.
            ________________________   ____________________________


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